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7                               UNITED STATES BANKRUPTCY COURT
8                               NORTHERN DISTRICT OF CALIFORNIA
9                                          OAKLAND DIVISION
10   In Re:                                             Case No.: 18-42378
                                                        Chapter 13
11
     FIRENEZE L. CASASOS,
12                                                      MOTION FOR REFERRAL TO
     Debtor(s).                                         MORTGAGE MODIFICATION
13                                                      MEDIATION PROGRAM
14

15
              Debtor FIRENEZE L. CASASOS (“Debtor”) hereby submits this Motion for Referral to
16

17
     Mortgage Modification Mediation Program (the “Motion”) and request that the Court enter an

18   order referring Debtor and BSI FINANCIAL SERVICES (the “Lender”) to the Mortgage
19   Modification Mediation Program (“MMM Program”) based upon the following.
20
     ___      1. The Lender has voluntarily consented to participate in the MMM Program in the
21
     above-captioned case, and herewith this Motion, the Debtor has filed a Notice Of Lender
22

23   Consent To Attend And Participate In The Mortgage Modification Mediation Program (Form

24   ND-MMM-101).
25
      x       2. Debtor is an individual who has filed for relief under, or converted to, Chapter 13 of
26
     the United States Bankruptcy Code on October 10, 2018.
27

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               MOTION FOR REFERRAL TO MORTGAGE MODIFICATION MEDIATION PROGRAM
                                             1

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1     x     3. Debtor requests entry into the MMM Program with respect to real property located at
2
     3629 Whitworth Drive, Dublin, CA 94568 (the “Property”). The last four digits of the account
3
     number for the Lender’s loan secured by the Property are 4435 (the “Loan”).
4
                   A. The Property is: (select one)
5

6                       x the Debtor’s primary residence.

7                      ___ not the Debtor’s primary residence.
8
                   B. The borrowers whom are obligated on the Loan are: (select one)
9
                        x only the Debtor.
10

11
                       ___ the Debtor and a non-filing co-borrower, co-obligor, or third-party, and

12                           their name(s) are as follows:
13                 C. If applicable, Debtor has filed with this Motion the Notice Of Third-Party
14
     Consent To Attend And Participate In The Mortgage Modification Mediation Program (Form
15
     ND-MMM-102), which is signed by each co-obligor, co-borrower, or third party listed above.
16

17          4. Debtor intends to: (select all that apply)

18              x modify the loan or mortgage on the Property.
19
              ___ surrender the Property to the Lender.
20
            5. Prior to filing this Motion, Debtor’s information was submitted to and processed
21
     through the court-approved online program that facilitates the preparation of the Debtor’s loan
22

23   modification package (the “Document Preparation Software”).              Debtor’s initial loan

24   modification forms have been generated and are ready for signature and submission. Debtor
25
     has also collected all of the required supporting documentation as required by the Document
26
     Preparation Software (such documentation and forms shall be collectively referred to herein as
27

28
     the “Debtor’s Prepared Package”) and Debtor is prepared to submit the supporting


              MOTION FOR REFERRAL TO MORTGAGE MODIFICATION MEDIATION PROGRAM
                                            2

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1    documentation and the modification forms. Further, Debtor has paid the applicable Document
2
     Preparation Software fee to the approved vendor.
3
            6. Prior to filing this Motion, Debtor has determined that: (select one)
4
               x the Lender is registered with the approved Mortgage Modification Mediation
5

6                   Portal (the “MMM Portal”).

7             ___ the Lender is not registered with the MMM Portal. Debtor requests that the Court
8
                   require the Lender (and the Lender’s California counsel, if applicable), within
9
                   fourteen (14) days after the entry of an order approving this Motion, to register
10

11
                   with the MMM Portal and provide to the vendor operating the MMM Portal any

12                 forms or documents which the Lender may require to initiate a review under the
13                 MMM Program. The MMM Portal vendor shall post any such forms or
14
                   documents to the Lender’s profile on the MMM Portal.
15
            7. Debtor requests that the Lender consider: (select all that apply)
16

17              x a HAMP or other government sponsored loan modification.

18              x a conventional loan modification.
19
               ___ a deed in lieu of foreclosure.
20
               ___ surrender options.
21
               ___ other:
22

23          8. If Debtor is requesting non-retention (surrender) options for the Property, then Debtor

24   will submit all additional documents required for surrender of the Property as provided for on
25
     the MMM Portal. Further, Debtor represents that the Property:
26
               ___ has not previously been listed for sale.
27

28
               ___ has previously been listed for sale.


              MOTION FOR REFERRAL TO MORTGAGE MODIFICATION MEDIATION PROGRAM
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1            9. If Debtor is represented by an attorney, Debtor has remitted the applicable mediator’s
2
     fee pursuant to the MMM Procedures to Debtor’s attorney.               Debtor understands and
3
     acknowledges that after the mediator is designated, the mediator’s fee is not refundable for any
4
     reason at any time.
5

6            10. If Debtor is not represented by an attorney, Debtor obtained a money order or a

7    cashier’s check to pay the required mediator’s fee pursuant to the MMM Procedures, a true and
8
     correct copy of which is attached hereto as Exhibit A. Debtor understands and acknowledges
9
     that after the mediator is designated, the mediator’s fee is not refundable for any reason at any
10

11
     time.

12           11. Debtor has selected Brent Meyer (the “Mediator”) to act as the mediator in this case.
13           WHEREFORE, Debtor requests that this Motion be granted and for such other and
14
     further relief as this Court deems proper.
15

16
     Dated: December 4, 2018                                     GRECH LEGAL
17

18
                                                                 /s/Matthew G. Grech
19                                                               MATTHEW G. GRECH
                                                                 Attorneys for Debtor
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              MOTION FOR REFERRAL TO MORTGAGE MODIFICATION MEDIATION PROGRAM
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